          Case 3:12-cr-02496-AJB                       Document 103                  Filed 09/21/12            PageID.185              Page 1 of 2


     'AD 2458 (CASD) ~ev. 1112).. Judgment in a Criminal Case
                Sheet 1   tIL t D
              20 IZ SEP 21 AM 8: 4 I
                                 UNITED STATES DISTRICT COURT
                    K           j v,;'~T ceHET
            ';aLr         .,"H':~\ Dr lH,llftliNi'SOUTHERN DISTRICT OF CALIFORNIA


            ~it UNITED STATE~QIi'J'AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                    OLIVIA MALACARA-GOMEZ (03)                                       Case Number: 12CR2496-AJB-03
                                                                                     Grant L. Eddy
                                                                                     Defendant's Attorney
     REGISTRATION NO. 34150298

     D
     THE DEFENDANT:
     18\ pleaded guilty to count(s) One of the Superseding Information
     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
18: 1956(a)(2)(B)(i)                    Money Laundering                                                                                      1




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 18\ Count(s) Underlying Counts ofIndictment           ----------------------------
                                                              is D arel8\ dismissed on the motion ofthe United States.
  jgI Assessment: $100.00 Waived


  jgI Fine waived                                   D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                            12CR2496-AJB-03
     Case 3:12-cr-02496-AJB                       Document 103          Filed 09/21/12     PageID.186           Page 2 of 2


AD 245B (CASD) (Rev. 1112)   Judgment in a Criminal Case
            Sheet 2   Imprisonment

                                                                                            Judgment - Page _ _2 _ of         2
 DEFENDANT: OLIVIA MALACARA-GOMEZ (03)
 CASE NUMBER: 12CR2496-AJB-03
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to Bureau of Prisons:
                                                              the




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.      on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before --------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                  to

 at ____________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By _ _ _ _~~~~==~~~~~------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                 12CR2496-AJB-03
